Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 1 of 7 PageID #: 2923




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

PATTY BEALL, MATTHEW                                  §
MAXWELL, TALINA MCELHANY AND                          §
KELLY HAMPTON, individually                           §
and on behalf of all other similarly situated;        §
                                                      §
         Plaintiffs,                                  §      2:08-cv-422 TJW
                                                      §
                                                      §
                                                      §
TYLER TECHNOLOGIES, INC. AND                          §
EDP ENTERPRISES, INC.                                 §
     Defendants.                                      §

             DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
              ON STATUTE OF LIMITATIONS AND WILLFULNESS UNDER
                       THE FLSA AND BRIEF IN SUPPORT

         Defendants Tyler Technologies, Inc. and EDP Enterprises, Inc. (collectively “Tyler” or

“Defendants”) file this Motion for Partial Summary Judgment on the issue of willfulness under

the Federal Labor Standards Act (the “FLSA”) and, in support thereof, would respectfully show

as follows:

                                           I.
                                    STATEMENT OF ISSUE

         Whether any genuine issue of material fact precludes a finding as a matter of law that the

statute of limitations should not be extended to three years because Plaintiffs cannot meet their

burden of proving that Defendants acted with reckless disregard of the law in classifying

Plaintiffs as exempt employees?

                                             II.
                                        INTRODUCTION

         This is a purported collective action under 29 U.S.C. §216(b) of the FLSA wherein the

named and opt-in Plaintiffs allege they were misclassified as exempt employees and improperly

DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS AND WILLFULNESS
UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 1

DB1/66206725.1
Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 2 of 7 PageID #: 2924




denied overtime pay.          After this case was conditionally certified as a collective action,

approximately 73 individuals filed their consents to opt-in to this lawsuit. Currently, after the

partial settlement of the claims of certain Plaintiffs, and after several other Plaintiffs elected to

opt-out of the lawsuit, 30 Plaintiffs remain in the case.

         The FLSA provides for a two-year statute of limitations for unpaid overtime claims. If a

plaintiff can meet his/her burden to show that an FLSA violation was “willful,” then the statute

extends the limitations period to three years.1 Because Plaintiffs cannot show that Tyler acted

willfully in classifying Plaintiffs as overtime exempt employees, Tyler respectfully moves this

Court for a determination that the two-year statute of limitations applies to the claims of all

Plaintiffs and that the claims of those Plaintiffs that fall outside of the two-year statute of

limitations be dismissed as a matter of law.

                                             III.
                                   ARGUMENTS & AUTHORITIES

         In a collective action, the limitations period continues to run as to an individual until he

or she files a consent to opt-in to the collective action.2 The FLSA bars any actions for unpaid

overtime compensation not filed within two years after the cause of action accrues.3 Under the

FLSA, a cause of action accrues at each regular payday immediately following the work period

during which the services were rendered for which the overtime compensation is claimed.4 If a

plaintiff can prove that a violation of the FLSA was willful, the statute extends the limitations

period from two to three years.5

         To receive the benefit of the three-year statue of limitations, a plaintiff must show that the


1
  29 U.S.C. § 225(a).
2
  Cash v. Conn Appliances, Inc., 2 F. Supp. 2d 884, 897 (E.D. Tex. 1997).
3
  29 U.S.C. § 225(a).
4
  Halferty v. Pulse Drug Co., 821 F.2d 261, 271 (5th Cir. 1987).
5
  29 U.S.C. § 225(a).

DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS
AND WILLFULNESS UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 2

DB1/66206725.1
Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 3 of 7 PageID #: 2925




employer’s actions were “willful” by establishing “that the employer either knew or showed

reckless disregard as to whether its conduct was prohibited by…” the FLSA.6 To prevail on

summary judgment as to willfulness, Tyler “need only point the court to the absence of

evidence” that its actions were willful.7

         A failure to seek legal advice regarding an employer’s pay practices does not constitute a

willful violation of the FLSA.8 A negligent violation of the FLSA does not constitute a willful

violation.9 Also, in misclassification cases, evidence that employees complained about working

more than 40 hours per week “does not raise a genuine issue of material fact as to defendants’

intentional or reckless disregard for the matter of whether its conduct was prohibited by the

FLSA.”10 Similarly, an employer’s mere knowledge that its employees worked more than 40

hours per week does not raise a genuine issue of material fact as to whether the employer acted

with intentional or reckless disregard of the FLSA.11

         Tyler’s motion for summary judgment should be granted because there is no evidence to

support Plaintiffs’ claims that Tyler acted willfully. As such, Plaintiffs’ claims are governed by

the FLSA’s two-year statue of limitations, and the claims of those Plaintiffs who fall outside of

this limitations period should be dismissed.

         An example of how courts analyze the issue of willfulness at the summary judgment

stage is Dennington v. Brinker International Payroll Co.12 In Dennington, the court granted

Brinker’s motion for summary judgment because the plaintiff could not point to evidence that

6
  Cox v. Brookshire Grocery Co., 919 F.2d 354, 356 (5th Cir. 1990).
7
   Dennington v. Brinker Int’l Payroll Co., No. 3:09-CV-1489-D, 2010 U.S. Dist. LEXIS 116890, at *5 (N.D. Tex.
Nov. 3, 2010).
8
  Mireles v. Frio Foods, 899 F.2d 1407, 1416 (5th Cir. 1990).
9
  Id.
10
   Edwards v. Alta Colls., Inc., No. SA-03-CA-0538 OG (NN), 2005 U.S. Dist. LEXIS 3753, at *46 (W.D. Tex. Feb.
28, 2005) (the employer’s summary judgment motion was granted as to the issue of willfulness and the court
imposed the FLSA’s 2-year limitations period).
11
   Id. at *47.
12
   Dennington, 2010 U.S. Dist. LEXIS 116890.

DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS
AND WILLFULNESS UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 3

DB1/66206725.1
Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 4 of 7 PageID #: 2926




Brinker acted willfully.13 In support of its motion, Brinker simply pointed out the absence of any

evidence of willfulness.14    Attempting to survive Brinker’s summary judgment motion, the

plaintiff argued that “the determination of willfulness is a fact issue and should, therefore, be

submitted to a jury.”15 The court held that the plaintiff could not “defeat summary judgment

simply by making this assertion. He must produce evidence that creates a genuine fact issue, i.e.,

proof that would enable a reasonable jury to find in his favor on this issue.”16 The court

concluded that Brinker was “only required at the summary judgment stage to point to the

absence of evidence of a willful violation.”17 Accordingly, the court granted Brinker’s motion.18

          Similarly, Tyler’s motion for summary judgment should be granted because Plaintiffs

cannot point to evidence that Tyler acted with reckless or intentional disregard of whether its

classification of Plaintiffs as exempt employees was prohibited by the FLSA. The Plaintiffs

identified in the table below should be dismissed from this action because the entirety of their

claims fall outside of the two-year limitations period.        The claims of unpaid overtime

compensation for the remaining Plaintiffs should be limited only to those claims that fall within

the two-year limitations period. Any claims for unpaid overtime compensation that fall outside

of the two-year limitations period should be barred as a matter of law.




13
   Id.
14
   Id. at *5.
15
   Id. at *7.
16
   Id.
17
   Id.
18
   Id. at *8.

DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS
AND WILLFULNESS UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 4

DB1/66206725.1
Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 5 of 7 PageID #: 2927




                                             IV.
                                STATEMENT OF UNDISPUTED FACTS


Plaintiff                 Date Consent to Opt             Date Before    Dates of Employment
                          in Was Filed                    Which Claims
                                                          are Barred19
Joy Bibles                4/6/0920                        onBased on
                                                          4/6/07         9/21/200521 to 10/13/200622
Geraldine Ingram          7/31/0923                       7/31/07        1/3/200624 to 11/200625
Bethany Maynard           7/27/0926                       7/27/07        12/2002 to 3/200727
Lisa White                4/6/0928                        4/6/07         2/16/2004 to 2/28/200729
Eyvonne Wilton            8/13/0930                       8/13/07        3/13/200631 to 1/12/200732


                                                     V.
                                                 CONCLUSION

         There is no evidence that Tyler acted in reckless disregard of the law by classifying

Plaintiffs as exempt employees. Therefore, the two-year statute of limitations under the FLSA

applies to this action and the claims of the Plaintiffs that fall outside of the two-year limitations

period are barred as a matter of law. Accordingly, Tyler respectfully requests this Court to grant

its motion for summary judgment and dismiss the claims of Plaintiffs Bibles, Ingram, Maynard,

White and Wilton in their entirety and dismiss them from this lawsuit. Additionally, Tyler

respectfully requests this Court to hold that claims of the remaining Plaintiffs for overtime

compensation are barred if they fall outside of the two-year limitations period.


19
   Based on a two-year limitations period.
20
   See Dkt. No. 17-13, Bibles’s consent to opt-in.
21
   See Exh. A, offer letter for Bibles.
22
   See Exh. B, separation letter for Bibles.
23
   See Dkt. No. 50-1, p. 2 of 3, Ingram’s consent to opt-in.
24
   See Exh. C, offer letter for Ingram.
25
   See Exh. D, Ingram dep. p. 12:21-23.
26
   See Dkt. No. 46-1, Maynard’s consent to opt-in.
27
   See Exh. E, Maynard dep. pp. 6:25-7:5.
28
   See Dkt. No. 17-16, White’s consent to opt-in.
29
   See Dkt. No. 18 -11, Declaration of Lisa White.
30
   See Dkt. No. 58-1, Wilton’s consent to opt-in.
31
   See Exh. F, Wilton’s dep. p. 116:18-21.
32
   See Exh. G, separation letter for Wilton.

DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS
AND WILLFULNESS UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 5

DB1/66206725.1
Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 6 of 7 PageID #: 2928




                                       Respectfully submitted:


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DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS
AND WILLFULNESS UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 6

DB1/66206725.1
Case 2:08-cv-00422-TJW Document 191 Filed 12/30/10 Page 7 of 7 PageID #: 2929




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing has been served
via the Court’s ECF system on this 30th day of December, 2010, as follows:

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DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS
AND WILLFULNESS UNDER THE FLSA AND BRIEF IN SUPPORT – PAGE 7

DB1/66206725.1
